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Case 1:21-cv-00822-RDA-IDD Document 18 Filed 07/16/21 Page 4 of 31 PageID# 572
Case 1:21-cv-00822-RDA-IDD Document 18 Filed 07/16/21 Page 5 of 31 PageID# 573
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   Case 1:21-cv-00822-RDA-IDD Document 18 Filed 07/16/21 Page 10 of 31 PageID# 578



                                    APPENDIX A


.COM DOMAINS

Registrar
NameSilo LLC
8825 N. 23rd Ave Suite 100
Phoenix, AZ 85021
United States


ccp-edu.com                          Domain Name: ccp-edu.com
                                     Registry Domain ID: 2587672139_DOMAIN_COM-
                                     VRSN
                                     Registrar WHOIS Server: whois.namesilo.com
                                     Registrar URL: https://www.namesilo.com/
                                     Updated Date: 2021-02-24T07:00:00Z
                                     Creation Date: 2021-01-28T07:00:00Z
                                     Registrar Registration Expiration Date: 2022-01-
                                     28T07:00:00Z
                                     Registrar: NameSilo, LLC
                                     Registrar IANA ID: 1479
                                     Registrar Abuse Contact Email: abuse@namesilo.com
                                     Registrar Abuse Contact Phone: +1.4805240066
                                     Reseller: QHOSTER.COM
                                     Domain Status: clientTransferProhibited
                                     https://www.icann.org/epp#clientTransferProhibited
                                     Registry Registrant ID:
                                     Registrant Name: Robert Chris
                                     Registrant Organization:
                                     Registrant Street: 3126 Tea Berry Lane
                                     Registrant City: Eau Claire
                                     Registrant State/Province: WI
                                     Registrant Postal Code: 54701
                                     Registrant Country: US
                                     Registrant Phone: +1.5185025850
                                     Registrant Phone Ext:
                                     Registrant Fax:
                                     Registrant Fax Ext:
                                     Registrant Email: zohoferdz1@gmail.com
                                     Registry Admin ID:
                                     Admin Name: Robert Chris
                                     Admin Organization:
                                     Admin Street: 3126 Tea Berry Lane
                                     Admin City: Eau Claire
                                     Admin State/Province: WI
                                     Admin Postal Code: 54701
                                     Admin Country: US
                                           1
    Case 1:21-cv-00822-RDA-IDD Document 18 Filed 07/16/21 Page 11 of 31 PageID# 579

                                      Admin Phone: +1.5185025850
                                      Admin Phone Ext:
                                      Admin Fax:
                                      Admin Fax Ext:
                                      Admin Email: zohoferdz1@gmail.com
                                      Registry Tech ID:
                                      Tech Name: Robert Chris
                                      Tech Organization:
                                      Tech Street: 3126 Tea Berry Lane
                                      Tech City: Eau Claire
                                      Tech State/Province: WI
                                      Tech Postal Code: 54701
                                      Tech Country: US
                                      Tech Phone: +1.5185025850
                                      Tech Phone Ext:
                                      Tech Fax:
                                      Tech Fax Ext:
                                      Tech Email: zohoferdz1@gmail.com
                                      Name Server: NS73.DOMAINCONTROL.COM
                                      Name Server: NS74.DOMAINCONTROL.COM
                                      DNSSEC: unsigned
junctionfuelings.com                  Domain Name: junctionfuelings.com
                                      Registry Domain ID: 2588515748_DOMAIN_COM-
                                      VRSN
                                      Registrar WHOIS Server: whois.namesilo.com
                                      Registrar URL: https://www.namesilo.com/
                                           http://www.namesilo.com
                                      Updated Date: 2021-02-01T07:00:00+00:00
                                           2021-02-01
                                      Creation Date: 2021-02-01T07:00:00+00:00
                                           2021-02-01
                                      Registrar Registration Expiration Date: 2022-02-
                                      01T07:00:00+00:00
                                           2022-02-01
                                      Registrar: NameSilo, LLC
                                      Sponsoring Registrar IANA ID: 1479
                                      Registrar Abuse Contact Email: abuse@namesilo.com
                                      Registrar Abuse Contact Phone: 14805240066
                                      Status:
                                           clientTransferProhibited
                                      Registry Registrant ID:
                                      Registrant Name: REDACTED FOR PRIVACY (DT)
                                      Registrant Organization:
                                      Registrant Street: REDACTED FOR PRIVACY (DT)
                                      Registrant City: REDACTED FOR PRIVACY (DT)
                                      Registrant State/Province: CA
                                      Registrant Postal Code: REDACTED FOR PRIVACY
                                      (DT)
                                      Registrant Country: us
                                      Registrant Phone: REDACTED FOR PRIVACY (DT)
                                      Registrant Phone Ext:
                                            2
   Case 1:21-cv-00822-RDA-IDD Document 18 Filed 07/16/21 Page 12 of 31 PageID# 580

                                     Registrant Fax:
                                     Registrant Fax Ext:
                                     Registrant Email: REDACTED FOR PRIVACY (DT)
                                     Registry Admin ID:
                                     Admin Name: REDACTED FOR PRIVACY (DT)
                                     Admin Organization:
                                     Admin Street: REDACTED FOR PRIVACY (DT)
                                     Admin City: REDACTED FOR PRIVACY (DT)
                                     Admin State/Province: CA
                                     Admin Postal Code: REDACTED FOR PRIVACY (DT)
                                     Admin Country: us
                                     Admin Phone: REDACTED FOR PRIVACY (DT)
                                     Admin Phone Ext:
                                     Admin Fax:
                                     Admin Fax Ext:
                                     Admin Email: REDACTED FOR PRIVACY (DT)
                                     Registry Tech ID:
                                     Tech Name: REDACTED FOR PRIVACY (DT)
                                     Tech Organization:
                                     Tech Street: REDACTED FOR PRIVACY (DT)
                                     Tech City: REDACTED FOR PRIVACY (DT)
                                     Tech State/Province: CA
                                     Tech Postal Code: REDACTED FOR PRIVACY (DT)
                                     Tech Country: us
                                     Tech Phone: REDACTED FOR PRIVACY (DT)
                                     Tech Phone Ext:
                                     Tech Fax:
                                     Tech Fax Ext:
                                     Tech Email: REDACTED FOR PRIVACY (DT)
                                     Registry Billing ID:
                                     Billing Name:
                                     Billing Organization:
                                     Billing Street:
                                     Billing City:
                                     Billing State/Province:
                                     Billing Postal Code:
                                     Billing Country:
                                     Billing Phone:
                                     Billing Phone Ext:
                                     Billing Fax:
                                     Billing Fax Ext:
                                     Billing Email:
                                     Nameservers:
                                          ns07.domaincontrol.com
                                          ns08.domaincontrol.com
                                     Reseller: QHOSTER.COM
                                     DNSSEC: unsigned

lverk.com                            Domain Name: lverk.com
                                     Registry Domain ID: 2588449215_DOMAIN_COM-
                                     VRSN
                                          3
Case 1:21-cv-00822-RDA-IDD Document 18 Filed 07/16/21 Page 13 of 31 PageID# 581

                                  Registrar WHOIS Server: whois.namesilo.com
                                  Registrar URL: https://www.namesilo.com/
                                  Updated Date: 2021-02-24T07:00:00Z
                                  Creation Date: 2021-02-01T07:00:00Z
                                  Registrar Registration Expiration Date: 2022-02-
                                  01T07:00:00Z
                                  Registrar: NameSilo, LLC
                                  Registrar IANA ID: 1479
                                  Registrar Abuse Contact Email: abuse@namesilo.com
                                  Registrar Abuse Contact Phone: +1.4805240066
                                  Reseller: QHOSTER.COM
                                  Domain Status: clientTransferProhibited
                                  https://www.icann.org/epp#clientTransferProhibited
                                  Registry Registrant ID:
                                  Registrant Name: Robert Chris
                                  Registrant Organization:
                                  Registrant Street: 3126 Tea Berry Lane
                                  Registrant City: Eau Claire
                                  Registrant State/Province: WI
                                  Registrant Postal Code: 54701
                                  Registrant Country: US
                                  Registrant Phone: +1.5185025850
                                  Registrant Phone Ext:
                                  Registrant Fax:
                                  Registrant Fax Ext:
                                  Registrant Email: zohoferdz1@gmail.com
                                  Registry Admin ID:
                                  Admin Name: Robert Chris
                                  Admin Organization:
                                  Admin Street: 3126 Tea Berry Lane
                                  Admin City: Eau Claire
                                  Admin State/Province: WI
                                  Admin Postal Code: 54701
                                  Admin Country: US
                                  Admin Phone: +1.5185025850
                                  Admin Phone Ext:
                                  Admin Fax:
                                  Admin Fax Ext:
                                  Admin Email: zohoferdz1@gmail.com
                                  Registry Tech ID:
                                  Tech Name: Robert Chris
                                  Tech Organization:
                                  Tech Street: 3126 Tea Berry Lane
                                  Tech City: Eau Claire
                                  Tech State/Province: WI
                                  Tech Postal Code: 54701
                                  Tech Country: US
                                  Tech Phone: +1.5185025850
                                  Tech Phone Ext:
                                  Tech Fax:
                                  Tech Fax Ext:
                                        4
    Case 1:21-cv-00822-RDA-IDD Document 18 Filed 07/16/21 Page 14 of 31 PageID# 582

                                      Tech Email: zohoferdz1@gmail.com
                                      Name Server: NS17.DOMAINCONTROL.COM
                                      Name Server: NS18.DOMAINCONTROL.COM
                                      DNSSEC: unsigned
tattersails.com                       omain Name: tattersails.com
                                      Registry Domain ID: 2588455590_DOMAIN_COM-
                                      VRSN
                                      Registrar WHOIS Server: whois.namesilo.com
                                      Registrar URL: https://www.namesilo.com/
                                      Updated Date: 2021-02-24T07:00:00Z
                                      Creation Date: 2021-02-01T07:00:00Z
                                      Registrar Registration Expiration Date: 2022-02-
                                      01T07:00:00Z
                                      Registrar: NameSilo, LLC
                                      Registrar IANA ID: 1479
                                      Registrar Abuse Contact Email: abuse@namesilo.com
                                      Registrar Abuse Contact Phone: +1.4805240066
                                      Reseller: QHOSTER.COM
                                      Domain Status: clientTransferProhibited
                                      https://www.icann.org/epp#clientTransferProhibited
                                      Registry Registrant ID:
                                      Registrant Name: Robert Chris
                                      Registrant Organization:
                                      Registrant Street: 3126 Tea Berry Lane
                                      Registrant City: Eau Claire
                                      Registrant State/Province: WI
                                      Registrant Postal Code: 54701
                                      Registrant Country: US
                                      Registrant Phone: +1.5185025850
                                      Registrant Phone Ext:
                                      Registrant Fax:
                                      Registrant Fax Ext:
                                      Registrant Email: zohoferdz1@gmail.com
                                      Registry Admin ID:
                                      Admin Name: Robert Chris
                                      Admin Organization:
                                      Admin Street: 3126 Tea Berry Lane
                                      Admin City: Eau Claire
                                      Admin State/Province: WI
                                      Admin Postal Code: 54701
                                      Admin Country: US
                                      Admin Phone: +1.5185025850
                                      Admin Phone Ext:
                                      Admin Fax:
                                      Admin Fax Ext:
                                      Admin Email: zohoferdz1@gmail.com
                                      Registry Tech ID:
                                      Tech Name: Robert Chris
                                      Tech Organization:
                                      Tech Street: 3126 Tea Berry Lane
                                      Tech City: Eau Claire
                                            5
   Case 1:21-cv-00822-RDA-IDD Document 18 Filed 07/16/21 Page 15 of 31 PageID# 583

                                     Tech State/Province: WI
                                     Tech Postal Code: 54701
                                     Tech Country: US
                                     Tech Phone: +1.5185025850
                                     Tech Phone Ext:
                                     Tech Fax:
                                     Tech Fax Ext:
                                     Tech Email: zohoferdz1@gmail.com
                                     Name Server: NS29.DOMAINCONTROL.COM
                                     Name Server: NS30.DOMAINCONTROL.COM
                                     DNSSEC: unsigned
cupidoconstructlon.com               Domain Name: cupidoconstructlon.com
                                     Registry Domain ID: 2588516962_DOMAIN_COM-
                                     VRSN
                                     Registrar WHOIS Server: whois.namesilo.com
                                     Registrar URL: https://www.namesilo.com/
                                     Updated Date: 2021-02-24T07:00:00Z
                                     Creation Date: 2021-02-01T07:00:00Z
                                     Registrar Registration Expiration Date: 2022-02-
                                     01T07:00:00Z
                                     Registrar: NameSilo, LLC
                                     Registrar IANA ID: 1479
                                     Registrar Abuse Contact Email: abuse@namesilo.com
                                     Registrar Abuse Contact Phone: +1.4805240066
                                     Reseller: QHOSTER.COM
                                     Domain Status: clientTransferProhibited
                                     https://www.icann.org/epp#clientTransferProhibited
                                     Registry Registrant ID:
                                     Registrant Name: Robert Chris
                                     Registrant Organization:
                                     Registrant Street: 3126 Tea Berry Lane
                                     Registrant City: Eau Claire
                                     Registrant State/Province: WI
                                     Registrant Postal Code: 54701
                                     Registrant Country: US
                                     Registrant Phone: +1.5185025850
                                     Registrant Phone Ext:
                                     Registrant Fax:
                                     Registrant Fax Ext:
                                     Registrant Email: zohoferdz1@gmail.com
                                     Registry Admin ID:
                                     Admin Name: Robert Chris
                                     Admin Organization:
                                     Admin Street: 3126 Tea Berry Lane
                                     Admin City: Eau Claire
                                     Admin State/Province: WI
                                     Admin Postal Code: 54701
                                     Admin Country: US
                                     Admin Phone: +1.5185025850
                                     Admin Phone Ext:
                                     Admin Fax:
                                           6
    Case 1:21-cv-00822-RDA-IDD Document 18 Filed 07/16/21 Page 16 of 31 PageID# 584

                                      Admin Fax Ext:
                                      Admin Email: zohoferdz1@gmail.com
                                      Registry Tech ID:
                                      Tech Name: Robert Chris
                                      Tech Organization:
                                      Tech Street: 3126 Tea Berry Lane
                                      Tech City: Eau Claire
                                      Tech State/Province: WI
                                      Tech Postal Code: 54701
                                      Tech Country: US
                                      Tech Phone: +1.5185025850
                                      Tech Phone Ext:
                                      Tech Fax:
                                      Tech Fax Ext:
                                      Tech Email: zohoferdz1@gmail.com
                                      Name Server: NS51.DOMAINCONTROL.COM
                                      Name Server: NS52.DOMAINCONTROL.COM
                                      DNSSEC: unsigned
thegiaint.com                         Domain Name: thegiaint.com
                                      Registry Domain ID: 2589038736_DOMAIN_COM-
                                      VRSN
                                      Registrar WHOIS Server: whois.namesilo.com
                                      Registrar URL: https://www.namesilo.com/
                                           http://www.namesilo.com
                                      Updated Date: 2021-02-04T07:00:00+00:00
                                           2021-02-03
                                      Creation Date: 2021-02-03T07:00:00+00:00
                                           2021-02-03
                                      Registrar Registration Expiration Date: 2022-02-
                                      03T07:00:00+00:00
                                           2022-02-03
                                      Registrar: NameSilo, LLC
                                      Sponsoring Registrar IANA ID: 1479
                                      Registrar Abuse Contact Email: abuse@namesilo.com
                                      Registrar Abuse Contact Phone: 14805240066
                                      Status:
                                           clientTransferProhibited
                                      Registry Registrant ID:
                                      Registrant Name: REDACTED FOR PRIVACY (DT)
                                      Registrant Organization:
                                      Registrant Street: REDACTED FOR PRIVACY (DT)
                                      Registrant City: REDACTED FOR PRIVACY (DT)
                                      Registrant State/Province: CA
                                      Registrant Postal Code: REDACTED FOR PRIVACY
                                      (DT)
                                      Registrant Country: us
                                      Registrant Phone: REDACTED FOR PRIVACY (DT)
                                      Registrant Phone Ext:
                                      Registrant Fax:
                                      Registrant Fax Ext:
                                      Registrant Email: REDACTED FOR PRIVACY (DT)
                                            7
    Case 1:21-cv-00822-RDA-IDD Document 18 Filed 07/16/21 Page 17 of 31 PageID# 585

                                      Registry Admin ID:
                                      Admin Name: REDACTED FOR PRIVACY (DT)
                                      Admin Organization:
                                      Admin Street: REDACTED FOR PRIVACY (DT)
                                      Admin City: REDACTED FOR PRIVACY (DT)
                                      Admin State/Province: CA
                                      Admin Postal Code: REDACTED FOR PRIVACY (DT)
                                      Admin Country: us
                                      Admin Phone: REDACTED FOR PRIVACY (DT)
                                      Admin Phone Ext:
                                      Admin Fax:
                                      Admin Fax Ext:
                                      Admin Email: REDACTED FOR PRIVACY (DT)
                                      Registry Tech ID:
                                      Tech Name: REDACTED FOR PRIVACY (DT)
                                      Tech Organization:
                                      Tech Street: REDACTED FOR PRIVACY (DT)
                                      Tech City: REDACTED FOR PRIVACY (DT)
                                      Tech State/Province: CA
                                      Tech Postal Code: REDACTED FOR PRIVACY (DT)
                                      Tech Country: us
                                      Tech Phone: REDACTED FOR PRIVACY (DT)
                                      Tech Phone Ext:
                                      Tech Fax:
                                      Tech Fax Ext:
                                      Tech Email: REDACTED FOR PRIVACY (DT)
                                      Registry Billing ID:
                                      Billing Name:
                                      Billing Organization:
                                      Billing Street:
                                      Billing City:
                                      Billing State/Province:
                                      Billing Postal Code:
                                      Billing Country:
                                      Billing Phone:
                                      Billing Phone Ext:
                                      Billing Fax:
                                      Billing Fax Ext:
                                      Billing Email:
                                      Nameservers:
                                           ns51.domaincontrol.com
                                           ns52.domaincontrol.com
                                      Reseller: QHOSTER.COM
                                      DNSSEC: unsigned
leaseacceierator.com                  Domain Name: leaseacceierator.com
                                      Registry Domain ID: 2589022048_DOMAIN_COM-
                                      VRSN
                                      Registrar WHOIS Server: whois.namesilo.com
                                      Registrar URL: https://www.namesilo.com/
                                      Updated Date: 2021-02-24T07:00:00Z
                                      Creation Date: 2021-02-03T07:00:00Z
                                            8
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                                  Registrar Registration Expiration Date: 2022-02-
                                  03T07:00:00Z
                                  Registrar: NameSilo, LLC
                                  Registrar IANA ID: 1479
                                  Registrar Abuse Contact Email: abuse@namesilo.com
                                  Registrar Abuse Contact Phone: +1.4805240066
                                  Reseller: QHOSTER.COM
                                  Domain Status: clientTransferProhibited
                                  https://www.icann.org/epp#clientTransferProhibited
                                  Registry Registrant ID:
                                  Registrant Name: Robert Chris
                                  Registrant Organization:
                                  Registrant Street: 3126 Tea Berry Lane
                                  Registrant City: Eau Claire
                                  Registrant State/Province: WI
                                  Registrant Postal Code: 54701
                                  Registrant Country: US
                                  Registrant Phone: +1.5185025850
                                  Registrant Phone Ext:
                                  Registrant Fax:
                                  Registrant Fax Ext:
                                  Registrant Email: zohoferdz1@gmail.com
                                  Registry Admin ID:
                                  Admin Name: Robert Chris
                                  Admin Organization:
                                  Admin Street: 3126 Tea Berry Lane
                                  Admin City: Eau Claire
                                  Admin State/Province: WI
                                  Admin Postal Code: 54701
                                  Admin Country: US
                                  Admin Phone: +1.5185025850
                                  Admin Phone Ext:
                                  Admin Fax:
                                  Admin Fax Ext:
                                  Admin Email: zohoferdz1@gmail.com
                                  Registry Tech ID:
                                  Tech Name: Robert Chris
                                  Tech Organization:
                                  Tech Street: 3126 Tea Berry Lane
                                  Tech City: Eau Claire
                                  Tech State/Province: WI
                                  Tech Postal Code: 54701
                                  Tech Country: US
                                  Tech Phone: +1.5185025850
                                  Tech Phone Ext:
                                  Tech Fax:
                                  Tech Fax Ext:
                                  Tech Email: zohoferdz1@gmail.com
                                  Name Server: NS23.DOMAINCONTROL.COM
                                  Name Server: NS24.DOMAINCONTROL.COM
                                  DNSSEC: unsigned
                                        9
    Case 1:21-cv-00822-RDA-IDD Document 18 Filed 07/16/21 Page 19 of 31 PageID# 587

kimballlnternational.com              Domain Name: kimballlnternational.com
                                      Registry Domain ID: 2589075541_DOMAIN_COM-
                                      VRSN
                                      Registrar WHOIS Server: whois.namesilo.com
                                      Registrar URL: https://www.namesilo.com/
                                      Updated Date: 2021-02-24T07:00:00Z
                                      Creation Date: 2021-02-03T07:00:00Z
                                      Registrar Registration Expiration Date: 2022-02-
                                      03T07:00:00Z
                                      Registrar: NameSilo, LLC
                                      Registrar IANA ID: 1479
                                      Registrar Abuse Contact Email: abuse@namesilo.com
                                      Registrar Abuse Contact Phone: +1.4805240066
                                      Reseller: QHOSTER.COM
                                      Domain Status: clientTransferProhibited
                                      https://www.icann.org/epp#clientTransferProhibited
                                      Registry Registrant ID:
                                      Registrant Name: Robert Chris
                                      Registrant Organization:
                                      Registrant Street: 3126 Tea Berry Lane
                                      Registrant City: Eau Claire
                                      Registrant State/Province: WI
                                      Registrant Postal Code: 54701
                                      Registrant Country: US
                                      Registrant Phone: +1.5185025850
                                      Registrant Phone Ext:
                                      Registrant Fax:
                                      Registrant Fax Ext:
                                      Registrant Email: zohoferdz1@gmail.com
                                      Registry Admin ID:
                                      Admin Name: Robert Chris
                                      Admin Organization:
                                      Admin Street: 3126 Tea Berry Lane
                                      Admin City: Eau Claire
                                      Admin State/Province: WI
                                      Admin Postal Code: 54701
                                      Admin Country: US
                                      Admin Phone: +1.5185025850
                                      Admin Phone Ext:
                                      Admin Fax:
                                      Admin Fax Ext:
                                      Admin Email: zohoferdz1@gmail.com
                                      Registry Tech ID:
                                      Tech Name: Robert Chris
                                      Tech Organization:
                                      Tech Street: 3126 Tea Berry Lane
                                      Tech City: Eau Claire
                                      Tech State/Province: WI
                                      Tech Postal Code: 54701
                                      Tech Country: US
                                      Tech Phone: +1.5185025850
                                           10
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                                      Tech Phone Ext:
                                      Tech Fax:
                                      Tech Fax Ext:
                                      Tech Email: zohoferdz1@gmail.com
                                      Name Server: NS37.DOMAINCONTROL.COM
                                      Name Server: NS38.DOMAINCONTROL.COM
                                      DNSSEC: unsigned
nationalsafetyconsuiting.com          Domain Name: nationalsafetyconsuiting.com
                                      Registry Domain ID: 2589004393_DOMAIN_COM-
                                      VRSN
                                      Registrar WHOIS Server: whois.namesilo.com
                                      Registrar URL: https://www.namesilo.com/
                                           http://www.namesilo.com
                                      Updated Date: 2021-02-04T07:00:00+00:00
                                           2021-02-03
                                      Creation Date: 2021-02-03T07:00:00+00:00
                                           2021-02-03
                                      Registrar Registration Expiration Date: 2022-02-
                                      03T07:00:00+00:00
                                           2022-02-03
                                      Registrar: NameSilo, LLC
                                      Sponsoring Registrar IANA ID: 1479
                                      Registrar Abuse Contact Email: abuse@namesilo.com
                                      Registrar Abuse Contact Phone: 14805240066
                                      Status:
                                           clientTransferProhibited
                                      Registry Registrant ID:
                                      Registrant Name: REDACTED FOR PRIVACY (DT)
                                      Registrant Organization:
                                      Registrant Street: REDACTED FOR PRIVACY (DT)
                                      Registrant City: REDACTED FOR PRIVACY (DT)
                                      Registrant State/Province: CA
                                      Registrant Postal Code: REDACTED FOR PRIVACY
                                      (DT)
                                      Registrant Country: us
                                      Registrant Phone: REDACTED FOR PRIVACY (DT)
                                      Registrant Phone Ext:
                                      Registrant Fax:
                                      Registrant Fax Ext:
                                      Registrant Email: REDACTED FOR PRIVACY (DT)
                                      Registry Admin ID:
                                      Admin Name: REDACTED FOR PRIVACY (DT)
                                      Admin Organization:
                                      Admin Street: REDACTED FOR PRIVACY (DT)
                                      Admin City: REDACTED FOR PRIVACY (DT)
                                      Admin State/Province: CA
                                      Admin Postal Code: REDACTED FOR PRIVACY (DT)
                                      Admin Country: us
                                      Admin Phone: REDACTED FOR PRIVACY (DT)
                                      Admin Phone Ext:
                                      Admin Fax:
                                           11
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                                      Admin Fax Ext:
                                      Admin Email: REDACTED FOR PRIVACY (DT)
                                      Registry Tech ID:
                                      Tech Name: REDACTED FOR PRIVACY (DT)
                                      Tech Organization:
                                      Tech Street: REDACTED FOR PRIVACY (DT)
                                      Tech City: REDACTED FOR PRIVACY (DT)
                                      Tech State/Province: CA
                                      Tech Postal Code: REDACTED FOR PRIVACY (DT)
                                      Tech Country: us
                                      Tech Phone: REDACTED FOR PRIVACY (DT)
                                      Tech Phone Ext:
                                      Tech Fax:
                                      Tech Fax Ext:
                                      Tech Email: REDACTED FOR PRIVACY (DT)
                                      Registry Billing ID:
                                      Billing Name:
                                      Billing Organization:
                                      Billing Street:
                                      Billing City:
                                      Billing State/Province:
                                      Billing Postal Code:
                                      Billing Country:
                                      Billing Phone:
                                      Billing Phone Ext:
                                      Billing Fax:
                                      Billing Fax Ext:
                                      Billing Email:
                                      Nameservers:
                                           ns57.domaincontrol.com
                                           ns58.domaincontrol.com
                                      Reseller: QHOSTER.COM
                                      DNSSEC: unsigned
ldisuperstore.com                     Domain Name: ldisuperstore.com
                                      Registry Domain ID: 2589471467_DOMAIN_COM-
                                      VRSN
                                      Registrar WHOIS Server: whois.namesilo.com
                                      Registrar URL: https://www.namesilo.com/
                                      Updated Date: 2021-02-24T07:00:00Z
                                      Creation Date: 2021-02-05T07:00:00Z
                                      Registrar Registration Expiration Date: 2022-02-
                                      05T07:00:00Z
                                      Registrar: NameSilo, LLC
                                      Registrar IANA ID: 1479
                                      Registrar Abuse Contact Email: abuse@namesilo.com
                                      Registrar Abuse Contact Phone: +1.4805240066
                                      Reseller: QHOSTER.COM
                                      Domain Status: clientTransferProhibited
                                      https://www.icann.org/epp#clientTransferProhibited
                                      Registry Registrant ID:
                                      Registrant Name: Robert Chris
                                           12
   Case 1:21-cv-00822-RDA-IDD Document 18 Filed 07/16/21 Page 22 of 31 PageID# 590

                                     Registrant Organization:
                                     Registrant Street: 3126 Tea Berry Lane
                                     Registrant City: Eau Claire
                                     Registrant State/Province: WI
                                     Registrant Postal Code: 54701
                                     Registrant Country: US
                                     Registrant Phone: +1.5185025850
                                     Registrant Phone Ext:
                                     Registrant Fax:
                                     Registrant Fax Ext:
                                     Registrant Email: zohoferdz1@gmail.com
                                     Registry Admin ID:
                                     Admin Name: Robert Chris
                                     Admin Organization:
                                     Admin Street: 3126 Tea Berry Lane
                                     Admin City: Eau Claire
                                     Admin State/Province: WI
                                     Admin Postal Code: 54701
                                     Admin Country: US
                                     Admin Phone: +1.5185025850
                                     Admin Phone Ext:
                                     Admin Fax:
                                     Admin Fax Ext:
                                     Admin Email: zohoferdz1@gmail.com
                                     Registry Tech ID:
                                     Tech Name: Robert Chris
                                     Tech Organization:
                                     Tech Street: 3126 Tea Berry Lane
                                     Tech City: Eau Claire
                                     Tech State/Province: WI
                                     Tech Postal Code: 54701
                                     Tech Country: US
                                     Tech Phone: +1.5185025850
                                     Tech Phone Ext:
                                     Tech Fax:
                                     Tech Fax Ext:
                                     Tech Email: zohoferdz1@gmail.com
                                     Name Server: NS75.DOMAINCONTROL.COM
                                     Name Server: NS76.DOMAINCONTROL.COM
                                     DNSSEC: unsigned
lithlumamericas.com                  Domain Name: lithlumamericas.com
                                     Registry Domain ID: 2590340868_DOMAIN_COM-
                                     VRSN
                                     Registrar WHOIS Server: whois.namesilo.com
                                     Registrar URL: https://www.namesilo.com/
                                     Updated Date: 2021-02-10T07:00:00Z
                                     Creation Date: 2021-02-09T07:00:00Z
                                     Registrar Registration Expiration Date: 2022-02-
                                     09T07:00:00Z
                                     Registrar: NameSilo, LLC
                                     Registrar IANA ID: 1479
                                         13
   Case 1:21-cv-00822-RDA-IDD Document 18 Filed 07/16/21 Page 23 of 31 PageID# 591

                                     Registrar Abuse Contact Email: abuse@namesilo.com
                                     Registrar Abuse Contact Phone: +1.4805240066
                                     Reseller: QHOSTER.COM
                                     Domain Status: clientTransferProhibited
                                     https://www.icann.org/epp#clientTransferProhibited
                                     Registry Registrant ID:
                                     Registrant Name: Robert Chris
                                     Registrant Organization:
                                     Registrant Street: 3126 Tea Berry Lane
                                     Registrant City: Eau Claire
                                     Registrant State/Province: WI
                                     Registrant Postal Code: 54701
                                     Registrant Country: US
                                     Registrant Phone: +1.5185025850
                                     Registrant Phone Ext:
                                     Registrant Fax:
                                     Registrant Fax Ext:
                                     Registrant Email: zohoferdz1@gmail.com
                                     Registry Admin ID:
                                     Admin Name: Robert Chris
                                     Admin Organization:
                                     Admin Street: 3126 Tea Berry Lane
                                     Admin City: Eau Claire
                                     Admin State/Province: WI
                                     Admin Postal Code: 54701
                                     Admin Country: US
                                     Admin Phone: +1.5185025850
                                     Admin Phone Ext:
                                     Admin Fax:
                                     Admin Fax Ext:
                                     Admin Email: zohoferdz1@gmail.com
                                     Registry Tech ID:
                                     Tech Name: Robert Chris
                                     Tech Organization:
                                     Tech Street: 3126 Tea Berry Lane
                                     Tech City: Eau Claire
                                     Tech State/Province: WI
                                     Tech Postal Code: 54701
                                     Tech Country: US
                                     Tech Phone: +1.5185025850
                                     Tech Phone Ext:
                                     Tech Fax:
                                     Tech Fax Ext:
                                     Tech Email: zohoferdz1@gmail.com
                                     Name Server: NS07.DOMAINCONTROL.COM
                                     Name Server: NS08.DOMAINCONTROL.COM
                                     DNSSEC: unsigned
usgeomatlcs.com                      Domain Name: usgeomatlcs.com
                                     Registry Domain ID: 2590212561_DOMAIN_COM-
                                     VRSN
                                     Registrar WHOIS Server: whois.namesilo.com
                                          14
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                                  Registrar URL: https://www.namesilo.com/
                                  Updated Date: 2021-02-09T07:00:00Z
                                  Creation Date: 2021-02-09T07:00:00Z
                                  Registrar Registration Expiration Date: 2022-02-
                                  09T07:00:00Z
                                  Registrar: NameSilo, LLC
                                  Registrar IANA ID: 1479
                                  Registrar Abuse Contact Email: abuse@namesilo.com
                                  Registrar Abuse Contact Phone: +1.4805240066
                                  Reseller: QHOSTER.COM
                                  Domain Status: clientTransferProhibited
                                  https://www.icann.org/epp#clientTransferProhibited
                                  Registry Registrant ID:
                                  Registrant Name: Robert Chris
                                  Registrant Organization:
                                  Registrant Street: 3126 Tea Berry Lane
                                  Registrant City: Eau Claire
                                  Registrant State/Province: WI
                                  Registrant Postal Code: 54701
                                  Registrant Country: US
                                  Registrant Phone: +1.5185025850
                                  Registrant Phone Ext:
                                  Registrant Fax:
                                  Registrant Fax Ext:
                                  Registrant Email: zohoferdz1@gmail.com
                                  Registry Admin ID:
                                  Admin Name: Robert Chris
                                  Admin Organization:
                                  Admin Street: 3126 Tea Berry Lane
                                  Admin City: Eau Claire
                                  Admin State/Province: WI
                                  Admin Postal Code: 54701
                                  Admin Country: US
                                  Admin Phone: +1.5185025850
                                  Admin Phone Ext:
                                  Admin Fax:
                                  Admin Fax Ext:
                                  Admin Email: zohoferdz1@gmail.com
                                  Registry Tech ID:
                                  Tech Name: Robert Chris
                                  Tech Organization:
                                  Tech Street: 3126 Tea Berry Lane
                                  Tech City: Eau Claire
                                  Tech State/Province: WI
                                  Tech Postal Code: 54701
                                  Tech Country: US
                                  Tech Phone: +1.5185025850
                                  Tech Phone Ext:
                                  Tech Fax:
                                  Tech Fax Ext:
                                  Tech Email: zohoferdz1@gmail.com
                                       15
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                                     Name Server: NS05.DOMAINCONTROL.COM
                                     Name Server: NS06.DOMAINCONTROL.COM
                                     DNSSEC: unsigned
ldimn.com                            Domain Name: ldimn.com
                                     Registry Domain ID: 2590498945_DOMAIN_COM-
                                     VRSN
                                     Registrar WHOIS Server: whois.namesilo.com
                                     Registrar URL: https://www.namesilo.com/
                                     Updated Date: 2021-02-11T07:00:00Z
                                     Creation Date: 2021-02-10T07:00:00Z
                                     Registrar Registration Expiration Date: 2022-02-
                                     10T07:00:00Z
                                     Registrar: NameSilo, LLC
                                     Registrar IANA ID: 1479
                                     Registrar Abuse Contact Email: abuse@namesilo.com
                                     Registrar Abuse Contact Phone: +1.4805240066
                                     Reseller: QHOSTER.COM
                                     Domain Status: clientTransferProhibited
                                     https://www.icann.org/epp#clientTransferProhibited
                                     Registry Registrant ID:
                                     Registrant Name: Robert Chris
                                     Registrant Organization:
                                     Registrant Street: 3126 Tea Berry Lane
                                     Registrant City: Eau Claire
                                     Registrant State/Province: WI
                                     Registrant Postal Code: 54701
                                     Registrant Country: US
                                     Registrant Phone: +1.5185025850
                                     Registrant Phone Ext:
                                     Registrant Fax:
                                     Registrant Fax Ext:
                                     Registrant Email: zohoferdz1@gmail.com
                                     Registry Admin ID:
                                     Admin Name: Robert Chris
                                     Admin Organization:
                                     Admin Street: 3126 Tea Berry Lane
                                     Admin City: Eau Claire
                                     Admin State/Province: WI
                                     Admin Postal Code: 54701
                                     Admin Country: US
                                     Admin Phone: +1.5185025850
                                     Admin Phone Ext:
                                     Admin Fax:
                                     Admin Fax Ext:
                                     Admin Email: zohoferdz1@gmail.com
                                     Registry Tech ID:
                                     Tech Name: Robert Chris
                                     Tech Organization:
                                     Tech Street: 3126 Tea Berry Lane
                                     Tech City: Eau Claire
                                     Tech State/Province: WI
                                          16
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                                      Tech Postal Code: 54701
                                      Tech Country: US
                                      Tech Phone: +1.5185025850
                                      Tech Phone Ext:
                                      Tech Fax:
                                      Tech Fax Ext:
                                      Tech Email: zohoferdz1@gmail.com
                                      Name Server: NS65.DOMAINCONTROL.COM
                                      Name Server: NS66.DOMAINCONTROL.COM
                                      DNSSEC: unsigned
aerocerts.com                         Domain Name: aerocerts.com
                                      Registry Domain ID: 2590639617_DOMAIN_COM-
                                      VRSN
                                      Registrar WHOIS Server: whois.namesilo.com
                                      Registrar URL: https://www.namesilo.com/
                                      Updated Date: 2021-02-11T07:00:00Z
                                      Creation Date: 2021-02-10T07:00:00Z
                                      Registrar Registration Expiration Date: 2022-02-
                                      10T07:00:00Z
                                      Registrar: NameSilo, LLC
                                      Registrar IANA ID: 1479
                                      Registrar Abuse Contact Email: abuse@namesilo.com
                                      Registrar Abuse Contact Phone: +1.4805240066
                                      Reseller: QHOSTER.COM
                                      Domain Status: clientTransferProhibited
                                      https://www.icann.org/epp#clientTransferProhibited
                                      Registry Registrant ID:
                                      Registrant Name: Robert Chris
                                      Registrant Organization:
                                      Registrant Street: 3126 Tea Berry Lane
                                      Registrant City: Eau Claire
                                      Registrant State/Province: WI
                                      Registrant Postal Code: 54701
                                      Registrant Country: US
                                      Registrant Phone: +1.5185025850
                                      Registrant Phone Ext:
                                      Registrant Fax:
                                      Registrant Fax Ext:
                                      Registrant Email: zohoferdz1@gmail.com
                                      Registry Admin ID:
                                      Admin Name: Robert Chris
                                      Admin Organization:
                                      Admin Street: 3126 Tea Berry Lane
                                      Admin City: Eau Claire
                                      Admin State/Province: WI
                                      Admin Postal Code: 54701
                                      Admin Country: US
                                      Admin Phone: +1.5185025850
                                      Admin Phone Ext:
                                      Admin Fax:
                                      Admin Fax Ext:
                                           17
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                                      Admin Email: zohoferdz1@gmail.com
                                      Registry Tech ID:
                                      Tech Name: Robert Chris
                                      Tech Organization:
                                      Tech Street: 3126 Tea Berry Lane
                                      Tech City: Eau Claire
                                      Tech State/Province: WI
                                      Tech Postal Code: 54701
                                      Tech Country: US
                                      Tech Phone: +1.5185025850
                                      Tech Phone Ext:
                                      Tech Fax:
                                      Tech Fax Ext:
                                      Tech Email: zohoferdz1@gmail.com
                                      Name Server: NS55.DOMAINCONTROL.COM
                                      Name Server: NS56.DOMAINCONTROL.COM
                                      DNSSEC: unsigned
napieslegal.com                       Domain Name: napieslegal.com
                                      Registry Domain ID: 2590704578_DOMAIN_COM-
                                      VRSN
                                      Registrar WHOIS Server: whois.namesilo.com
                                      Registrar URL: https://www.namesilo.com/
                                      Updated Date: 2021-02-12T07:00:00Z
                                      Creation Date: 2021-02-11T07:00:00Z
                                      Registrar Registration Expiration Date: 2022-02-
                                      11T07:00:00Z
                                      Registrar: NameSilo, LLC
                                      Registrar IANA ID: 1479
                                      Registrar Abuse Contact Email: abuse@namesilo.com
                                      Registrar Abuse Contact Phone: +1.4805240066
                                      Reseller: QHOSTER.COM
                                      Domain Status: clientTransferProhibited
                                      https://www.icann.org/epp#clientTransferProhibited
                                      Registry Registrant ID:
                                      Registrant Name: Robert Chris
                                      Registrant Organization:
                                      Registrant Street: 3126 Tea Berry Lane
                                      Registrant City: Eau Claire
                                      Registrant State/Province: WI
                                      Registrant Postal Code: 54701
                                      Registrant Country: US
                                      Registrant Phone: +1.5185025850
                                      Registrant Phone Ext:
                                      Registrant Fax:
                                      Registrant Fax Ext:
                                      Registrant Email: zohoferdz1@gmail.com
                                      Registry Admin ID:
                                      Admin Name: Robert Chris
                                      Admin Organization:
                                      Admin Street: 3126 Tea Berry Lane
                                      Admin City: Eau Claire
                                           18
    Case 1:21-cv-00822-RDA-IDD Document 18 Filed 07/16/21 Page 28 of 31 PageID# 596

                                      Admin State/Province: WI
                                      Admin Postal Code: 54701
                                      Admin Country: US
                                      Admin Phone: +1.5185025850
                                      Admin Phone Ext:
                                      Admin Fax:
                                      Admin Fax Ext:
                                      Admin Email: zohoferdz1@gmail.com
                                      Registry Tech ID:
                                      Tech Name: Robert Chris
                                      Tech Organization:
                                      Tech Street: 3126 Tea Berry Lane
                                      Tech City: Eau Claire
                                      Tech State/Province: WI
                                      Tech Postal Code: 54701
                                      Tech Country: US
                                      Tech Phone: +1.5185025850
                                      Tech Phone Ext:
                                      Tech Fax:
                                      Tech Fax Ext:
                                      Tech Email: zohoferdz1@gmail.com
                                      Name Server: NS19.DOMAINCONTROL.COM
                                      Name Server: NS20.DOMAINCONTROL.COM
                                      DNSSEC: unsigned

.CA DOMAINS
Registrar
Key-Systems GmbH
Im Oberen Werk 1
66386 St. Ingbert
Germany


sllao.ca                              Domain Name: sllao.ca
                                      Registry Domain ID: 88831450-CIRA
                                      Registrar WHOIS Server: whois.ca.fury.ca
                                      Registrar URL: ksdomains.ca
                                      Updated Date: 2021-02-22T10:47:09Z
                                      Creation Date: 2021-02-05T17:58:44Z
                                      Registry Expiry Date: 2022-02-05T17:58:44Z
                                      Registrar: KS DOMAINS LTD
                                      Registrar IANA ID: not applicable
                                      Registrar Abuse Contact Email:
                                      Registrar Abuse Contact Phone:
                                      Domain Status: serverTransferProhibited
                                      https://icann.org/epp#serverTransferProhibited
                                      Registry Registrant ID: REDACTED FOR PRIVACY
                                      Registrant Name: REDACTED FOR PRIVACY
                                      Registrant Organization: REDACTED FOR PRIVACY
                                      Registrant Street: REDACTED FOR PRIVACY

                                          19
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                                  Registrant City: REDACTED FOR PRIVACY
                                  Registrant State/Province: REDACTED FOR PRIVACY
                                  Registrant Postal Code: REDACTED FOR PRIVACY
                                  Registrant Country: REDACTED FOR PRIVACY
                                  Registrant Phone: REDACTED FOR PRIVACY
                                  Registrant Phone Ext: REDACTED FOR PRIVACY
                                  Registrant Fax: REDACTED FOR PRIVACY
                                  Registrant Fax Ext: REDACTED FOR PRIVACY
                                  Registrant Email: Please ask the Registrar of Record
                                  identified in this output for information on how to
                                  contact the Registrant, Admin, or Other contacts of the
                                  queried domain name
                                  Registry Admin ID: REDACTED FOR PRIVACY
                                  Admin Name: REDACTED FOR PRIVACY
                                  Admin Organization: REDACTED FOR PRIVACY
                                  Admin Street: REDACTED FOR PRIVACY
                                  Admin City: REDACTED FOR PRIVACY
                                  Admin State/Province: REDACTED FOR PRIVACY
                                  Admin Postal Code: REDACTED FOR PRIVACY
                                  Admin Country: REDACTED FOR PRIVACY
                                  Admin Phone: REDACTED FOR PRIVACY
                                  Admin Phone Ext: REDACTED FOR PRIVACY
                                  Admin Fax: REDACTED FOR PRIVACY
                                  Admin Fax Ext: REDACTED FOR PRIVACY
                                  Admin Email: Please ask the Registrar of Record
                                  identified in this output for information on how to
                                  contact the Registrant, Admin, or Other contacts of the
                                  queried domain name
                                  Registry Tech ID: REDACTED FOR PRIVACY
                                  Tech Name: REDACTED FOR PRIVACY
                                  Tech Organization: REDACTED FOR PRIVACY
                                  Tech Street: REDACTED FOR PRIVACY
                                  Tech City: REDACTED FOR PRIVACY
                                  Tech State/Province: REDACTED FOR PRIVACY
                                  Tech Postal Code: REDACTED FOR PRIVACY
                                  Tech Country: REDACTED FOR PRIVACY
                                  Tech Phone: REDACTED FOR PRIVACY
                                  Tech Phone Ext: REDACTED FOR PRIVACY
                                  Tech Fax: REDACTED FOR PRIVACY
                                  Tech Fax Ext: REDACTED FOR PRIVACY
                                  Tech Email: Please ask the Registrar of Record identified
                                  in this output for information on how to contact the
                                  Registrant, Admin, or Other contacts of the queried
                                  domain name
                                  Registry Billing ID: REDACTED FOR PRIVACY
                                  Billing Name: REDACTED FOR PRIVACY
                                  Billing Organization: REDACTED FOR PRIVACY
                                  Billing Street: REDACTED FOR PRIVACY
                                  Billing City: REDACTED FOR PRIVACY
                                  Billing State/Province: REDACTED FOR PRIVACY
                                  Billing Postal Code: REDACTED FOR PRIVACY
                                        20
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                                      Billing Country: REDACTED FOR PRIVACY
                                      Billing Phone: REDACTED FOR PRIVACY
                                      Billing Phone Ext: REDACTED FOR PRIVACY
                                      Billing Fax: REDACTED FOR PRIVACY
                                      Billing Fax Ext: REDACTED FOR PRIVACY
                                      Billing Email: Please ask the Registrar of Record
                                      identified in this output for information on how to
                                      contact the Registrant, Admin, or Other contacts of the
                                      queried domain name
                                      Name Server: ina1.registrar.eu
                                      Name Server: ina2.registrar.eu
                                      Name Server: ina3.registrar.eu
                                      DNSSEC: unsigned

.CO DOMAINS

Registrar
NameSilo LLC
8825 N. 23rd Ave Suite 100
Phoenix, AZ 85021
United States


exarr.co                              Domain Name: exarr.co
                                      Registry Domain ID:
                                      DF12657D50CAF423A98C5A642371E41D2-NSR
                                      Registrar WHOIS Server: whois.namesilo.com
                                      Registrar URL: www.namesilo.com
                                      Updated Date: 2021-02-14T17:54:46Z
                                      Creation Date: 2021-02-09T17:54:42Z
                                      Registry Expiry Date: 2022-02-09T17:54:42Z
                                      Registrar: NameSilo, LLC
                                      Registrar IANA ID: 1479
                                      Registrar Abuse Contact Email: abuse@namesilo.com
                                      Registrar Abuse Contact Phone: +1.4805240066
                                      Domain Status: clientTransferProhibited
                                      https://icann.org/epp#clientTransferProhibited
                                      Registry Registrant ID: REDACTED FOR PRIVACY
                                      Registrant Name: REDACTED FOR PRIVACY
                                      Registrant Organization:
                                      Registrant Street: REDACTED FOR PRIVACY
                                      Registrant Street: REDACTED FOR PRIVACY
                                      Registrant Street: REDACTED FOR PRIVACY
                                      Registrant City: REDACTED FOR PRIVACY
                                      Registrant State/Province: WI
                                      Registrant Postal Code: REDACTED FOR PRIVACY
                                      Registrant Country: US
                                      Registrant Phone: REDACTED FOR PRIVACY
                                      Registrant Phone Ext: REDACTED FOR PRIVACY
                                      Registrant Fax: REDACTED FOR PRIVACY

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                                  Registrant Fax Ext: REDACTED FOR PRIVACY
                                  Registrant Email: Please query the RDDS service of the
                                  Registrar of Record identified in this output for
                                  information on how to contact the Registrant, Admin, or
                                  Tech contact of the queried domain name.
                                  Registry Admin ID: REDACTED FOR PRIVACY
                                  Admin Name: REDACTED FOR PRIVACY
                                  Admin Organization: REDACTED FOR PRIVACY
                                  Admin Street: REDACTED FOR PRIVACY
                                  Admin Street: REDACTED FOR PRIVACY
                                  Admin Street: REDACTED FOR PRIVACY
                                  Admin City: REDACTED FOR PRIVACY
                                  Admin State/Province: REDACTED FOR PRIVACY
                                  Admin Postal Code: REDACTED FOR PRIVACY
                                  Admin Country: REDACTED FOR PRIVACY
                                  Admin Phone: REDACTED FOR PRIVACY
                                  Admin Phone Ext: REDACTED FOR PRIVACY
                                  Admin Fax: REDACTED FOR PRIVACY
                                  Admin Fax Ext: REDACTED FOR PRIVACY
                                  Admin Email: Please query the RDDS service of the
                                  Registrar of Record identified in this output for
                                  information on how to contact the Registrant, Admin, or
                                  Tech contact of the queried domain name.
                                  Registry Tech ID: REDACTED FOR PRIVACY
                                  Tech Name: REDACTED FOR PRIVACY
                                  Tech Organization: REDACTED FOR PRIVACY
                                  Tech Street: REDACTED FOR PRIVACY
                                  Tech Street: REDACTED FOR PRIVACY
                                  Tech Street: REDACTED FOR PRIVACY
                                  Tech City: REDACTED FOR PRIVACY
                                  Tech State/Province: REDACTED FOR PRIVACY
                                  Tech Postal Code: REDACTED FOR PRIVACY
                                  Tech Country: REDACTED FOR PRIVACY
                                  Tech Phone: REDACTED FOR PRIVACY
                                  Tech Phone Ext: REDACTED FOR PRIVACY
                                  Tech Fax: REDACTED FOR PRIVACY
                                  Tech Fax Ext: REDACTED FOR PRIVACY
                                  Tech Email: Please query the RDDS service of the
                                  Registrar of Record identified in this output for
                                  information on how to contact the Registrant, Admin, or
                                  Tech contact of the queried domain name.
                                  Name Server: ns07.domaincontrol.com
                                  Name Server: ns08.domaincontrol.com
                                  DNSSEC: unsigned




                                      22
